






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00419-CR







Brenda Elaine King, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 5 OF TRAVIS COUNTY


NO. 687829, HONORABLE NANCY WRIGHT HOHENGARTEN, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Brenda Elaine King appeals pro se her misdemeanor conviction for resisting
arrest.&nbsp;&nbsp;See Tex. Penal Code Ann. § 38.03 (West 2003).  Challenging the jury's finding of guilt,
appellant complains that the evidence showed that she did not resist arrest and that she was
wrongfully convicted.

Appellant did not request a reporter's record or file an affidavit of indigence.  See
Tex. R. App. P. 35.3(b); In re Spiegel, 6 S.W.3d 643, 646 (Tex. App.--Amarillo 1999, no pet.); see
also Halliburton v. State, 2006 Tex. App. LEXIS 2644, at *3-4 (Tex. App.--Tyler Mar. 31, 2006,
no pet.) (not designated for publication).  After appellant was given notice and an opportunity to
cure, the appeal was submitted for decision without a reporter's record.  See Tex. R. App. P.
37.3(c)(1).

When a reporter's record is necessary for appellate review and the appellant fails to
file the reporter's record, a presumption arises that the reporter's record would support the
trial&nbsp;court's judgment.  Rittenhouse v. Sabine Valley Ctr. Found., 161 S.W.3d 157, 165
(Tex.&nbsp;App.--Texarkana 2005, no pet.).  Moreover, if an appellant does not initiate the completion
of a record and her issue involves matters omitted from the record due to her failure to request or pay
for the record, her actions will prevent an appellate court from adequately addressing the dispute. 
In this case, appellant did not request a reporter's record nor did she file an affidavit of indigence. 
Without the reporter's record, we cannot determine that the trial court erred.

Accordingly, we overrule appellant's issues and affirm the judgment of the trial court.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop 

Affirmed

Filed:   June 12, 2007

Do Not Publish


